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                      EXHIBIT 4B
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               CAUSATION REQUIREMENTS FOR BUSINESSES ECONOMIC LOSS CLAIMS1


    I.         Business Claimants for Which There is No Causation Requirement

          1) If you are a business in Zone A, you are not required to provide any evidence of causation
             unless you fall into one of the exceptions agreed to by the parties, and listed in footnote (1).

          2) If you are a “Landing Site,” or “Commercial Wholesale or Retail Dealer A,” or “Primary
             Seafood Processor,” as set forth in “Seafood Distribution Chain Definitions,” you are not
             required to provide any evidence of causation.

          3) If you are in Zone A, B or C and you are a “Commercial or Wholesale or Retail Dealer B,” or a
             “Secondary Seafood Processor,” or a “Seafood Wholesaler or Distributor,” or a “Seafood
             Retailer,” as set forth in “Seafood Distribution Chain Definition,” you are not required to
             provide any evidence of causation.

          4) If you are in Zone A or Zone B, and you meet the “Tourism Definition,” you are not required
             to provide any evidence of causation.

          5) If you are in Zone A, B or C, and you meet the “Charter Fishing Definition” you are not
             required to provide any evidence of causation.

    II.        Causation Requirements for Zone B and Zone C

          If you are not entitled to a presumption as set forth in (I) above and you are located in Zone B
          or Zone C then you must satisfy the requirements of one of the following sections A-E below:

          A. V-Shaped Revenue Pattern:

               Total business revenue shows the following pattern:

                  1. DOWNTURN: a decline of an aggregate of 8.5% or more in total revenues
                     over a period of three consecutive months between May-December 2010
                     compared to the same months in the Benchmark Period selected by the
                     claimant;2 AND

                  2. LATER UPTURN: an increase of an aggregate of 5% or more in total revenues
                     over the same period of three consecutive months in 2011 compared to
                     2010. 3

          OR

1
  This Causation Requirements for Business Economic Loss Claims does not apply to (i) Start-up Businesses;
(ii) Failed Businesses; (iii) Entities, Individuals or Claims not included within the Economic Class definition; and (iv)
Claims covered under the Seafood Program.
2
  See Compensation Framework for Business Economic Loss Claims.
3
  See Exhibit A attached hereto for an example of how this calculation is performed.
                                                            1

                                                                                                                    028725
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        B. Modified V-Shaped Revenue Pattern:

             Total business revenue shows the following pattern:

                 1. DOWNTURN: a decline of an aggregate of 5% or more in total revenues over
                    a period of three consecutive months between May-December 2010
                    compared to the same months in the Benchmark Period selected by the
                    claimant;4 AND

                 2. LATER UPTURN: an increase of an aggregate of 5% or more in total revenues
                    over the same period of three consecutive months in 2011 compared to
                    2010;

             AND ONE OR MORE OF THE FOLLOWING:

                 a. The claimant demonstrates a decline of 10% in the share of total revenue
                    generated by non-local customers over the same period of three consecutive
                    months from May-December 2010 as selected by claimant for the Modified
                    V-Shaped Revenue Pattern as identified in (II.B.1) compared to the same
                    three consecutive month period in 2009, as reflected in:5

                         customer credit card receipts or other contemporaneously maintained
                          records of payment; or
                         customer registration logs (e.g., hotel registries); or
                         documentation maintained in the ordinary course of business that lists
                          customers by location and monthly sales associated with those
                          customers; or
                         business documents reflecting contemporaneous recording of receipts or
                          invoices listing customers by location.6

                 OR
                 b. For business claimants that have customers in Zones A-C, the claimant
                    demonstrates a decline of 10% in the share of total revenue generated by
                    customers located in Zones A-C over the same period of the three
                    consecutive months from May-December 2010 as selected by claimant for
                    the Modified V-Shaped Revenue Pattern as identified in (II.B.1) compared to
                    the same three consecutive month period in 2009, as reflected in:


4
  See Compensation Framework for Business Economic Loss Claims.
5
  A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
6
  See Exhibit B attached hereto for an example of how this calculation is performed.
                                                        2

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                            customer credit card receipts or other contemporaneously maintained
                             records of payment; or
                            customer registration logs (e.g., hotel registries); or
                            documentation maintained in the ordinary course of business that lists
                             customers by location and monthly sales associated with those
                             customers; or
                            business documents reflecting contemporaneous recording of receipts or
                             invoices listing customers by location.7

                    OR

                    c. The claimant provides contemporaneous written evidence of the cancellation
                       of a contract as the direct result of the spill that claimant was not able to
                       replace. Proof of a spill-related contract cancellation only establishes
                       causation for the specific contract substantiated by the claimant and may
                       result in recovery only of damages solely associated with such contract.
           OR

           C. Decline-Only Revenue Pattern:

                         1. DOWNTURN: a decline of an aggregate of 8.5% or more in revenues over
                            a period of three consecutive months between May-December 2010
                            compared to the same months in the Benchmark Period selected by the
                            claimant;8

                         AND

                         2. Specific documentation identifying factors outside the control of the
                            claimant that prevented the recovery of revenues in 2011, such as:
                             The entry of a competitor in 2011
                             Bankruptcy of a significant customer in 2011
                             Nearby road closures affecting the business
                             Unanticipated interruption resulting in closure of the business
                             Product/Service replacement by Customer
                             Loss of financing and/or reasonable terms of renewal;

                         AND

                         3. ONE OF THE FOLLOWING:



7
    See Exhibit C attached hereto for an example of how this calculation is performed.
8
    See Compensation Framework for Business Economic Loss Claims.
                                                           3

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                         The claimant demonstrates proof of a decline of 10% in the share of total
                          revenue generated by non-local customers over the same period of three
                          consecutive months from May-December 2010 as selected by the
                          claimant for the Decline-Only Revenue Pattern as identified in (II.C.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:9
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location.10


                         For business claimants that have customers in Zones A-C, the claimant
                          demonstrates proof of a decline of 10% in the share of total revenue
                          generated by customers located in Zones A-C over the same period of
                          three consecutive months from May-December 2010 as selected by the
                          claimant for the Decline-Only Revenue Pattern as identified in (II.C.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location.11

        OR

        D. Proof of Spill-Related Cancellations

                Claimant may establish causation by providing contemporaneous written
                 evidence of spill-related reservation cancellations (i.e., letters, emails, hotel logs
                 for the relevant time, or an affidavit from an independent third party citing the

9
  A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
10
   See Exhibit B attached hereto for an example of how this calculation is performed.
11
   See Exhibit C attached hereto for an example of how this calculation is performed.
                                                        4

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                spill as the reason for cancellation) that the claimant was unable to rebook.
                Proof of spill-related reservation cancellations only establishes causation for the
                specific cancellations substantiated by the claimant and may result in recovery
                only of damages solely associated with such cancellations established as causally
                resulting from the spill. However, if the lodging facility has food and/or beverage
                services on site, the evidence of cancellation shall satisfy causation for the
                specific losses corresponding to such cancellation in those service areas as well.

               The claimant provides contemporaneous written evidence of the cancellation of
                a contract as the direct result of the spill that claimant was not able to replace.
                In the absence of contemporaneous written evidence, the claimant must present
                an affidavit from an independent third party affirming that the cancellation was
                spill-related. Proof of a spill-related contract cancellation only establishes
                causation for the specific contract substantiated by the claimant and may result
                in recovery only of damages solely associated with such contract.

       OR

       E. A non-rural business claimant on a property that is in close proximity (within 100
          yards) to the property of a separate MDL 2179 business claimant that has
          established causation (“Causation Proxy Claimant”) may rely on the documentation
          submitted by such Causation Proxy Claimant to satisfy these Causation
          Requirements for Business Economic Loss Claims. A “Rural Business” claimant
          located within one quarter-mile of the property of the Causation Proxy Claimant
          may rely on the documentation submitted by the Causation Proxy Claimant to satisfy
          these causation requirement only if the claimant provides information sufficient for
          the Claims Administrator to determine that a causal relationship exists between the
          claimant’s financial performance and the financial performance of the Causation
          Proxy Claimant. A Rural Business shall be defined as one is located in area outside an
          Urban Area or Urban Cluster, as defined by the US Census Bureau’s classification.
          Only business claimants with annual revenue of $75,000 or below are eligible to
          establish causation under this Subpart IIE.

III.        Causation Requirements for Zone D

       If you are not entitled to a presumption as set forth in (I) above and you are located outside of
       Zones A, B or C, then you must satisfy the requirements of one of the following sections A-F
       below:

       A.       V-Shaped Revenue Pattern:

            Business revenue shows the following pattern:



                                                   5

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                 1. DOWNTURN: a decline of an aggregate of 15% or more in total revenues
                    over a period of three consecutive months between May-December 2010
                    compared to the same months in the Benchmark Period selected by the
                    claimant;12

                     AND

                 2. LATER UPTURN: an increase of an aggregate of 10% or more in total
                    revenues over the same period of three consecutive months in 2011
                    compared to 2010. 13

        OR

        B.       Modified V-Shaped Revenue Pattern:

             Total business revenue shows the following pattern:

                 1. DOWNTURN: a decline of an aggregate of 10% or more in total revenues
                    over the same period of three consecutive months between May-December
                    2010 compared to the same months in the Benchmark Period selected by the
                    claimant;14

                     AND

                 2. LATER UPTURN: an increase of an aggregate of 7% or more in total revenues
                    over the same period of three consecutive months in 2011 compared to
                    2010;

                     AND

                 3. ONE OF THE FOLLOWING:

                         The claimant demonstrates proof of a decline of 10% in the share of total
                          revenue generated by non-local customers over the same period of three
                          consecutive months from May-December 2010 as selected by the
                          claimant for the Modified V-Shaped Revenue Pattern identified in (III.B.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:15


12
   See Compensation Framework for Business Economic Loss Claims.
13
   See Exhibit A attached hereto for an example of how this calculation is performed.
14
   See Compensation Framework for Business Economic Loss Claims.
15
   A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
                                                        6

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                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location. 16
                         For business claimants that have customers in Zones A-C, the claimant
                          demonstrates proof of a decline of 10% in the share of total revenue
                          generated by customers located in Zones A-C over the same period of the
                          three consecutive months from May-December 2010 as selected by the
                          claimant for the Modified V-Shaped Revenue Pattern identified in (III.B.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location.17

                         The claimant provides contemporaneous written evidence of the
                          cancellation of a contract as the direct result of the spill that claimant
                          was not able to replace. Proof of a spill-related contract cancellation only
                          establishes causation for the specific contract substantiated by the
                          claimant and may result in recovery only of damages solely associated
                          with such contract.

        OR

        C.       Decline-Only Revenue Pattern:

                      1. DOWNTURN: a decline of an aggregate of 15% or more in total revenues
                         over a period of three consecutive months between May-December 2010
                         compared to the same months in the Benchmark Period selected by the
                         claimant without a recovery in the corresponding months of 2011; 18


16
   See Exhibit B attached hereto for an example of how this calculation is performed.
17
   See Exhibit C attached hereto for an example of how this calculation is performed.
18
   See Compensation Framework for Business Economic Loss Claims.
                                                         7

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                     AND

                     2. Specific documentation identifying factors outside the control of the
                        claimant that prevented the recovery of revenues in 2011:
                         The entry of a competitor in 2011
                         Bankruptcy of a significant customer in 2011
                         Nearby road closures affecting the business
                         Unanticipated interruption resulting in closure of the business
                         Produce/Source replacement by Customer,
                         Loss of financing and/or reasonable terms of renewal;

                     AND

                     3. ONE OR MORE OF THE FOLLOWING:

                         The claimant demonstrates proof of a decline of 10% in the share of total
                          revenue generated by non-local customers over the same period of three
                          consecutive months from May-December 2010 as selected by the
                          claimant for the Decline-Only Revenue Patter as identified in (III.C.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:19
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location. 20

                         For business claimants that have customers in Zones A-C, the claimant
                          demonstrates proof of a decline of a 10% in the share of total revenue
                          generated by customers located in Zone A, Zone B, or Zone C over the
                          same period of three consecutive months from May-December 2010 as
                          selected by the claimant for the Decline-Only Revenue Pattern as
                          identified in (III.C.1) compared to the same three consecutive month
                          period in 2009, as reflected in:
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or

19
   A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
20
   See Exhibit B attached hereto for an example of how this calculation is performed.
                                                        8

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                                 o documentation maintained in the ordinary course of business that
                                   lists customers by location and monthly sales associated with
                                   those customers; or
                                 o business documents reflecting contemporaneous recording of
                                   receipts or invoices listing customers by location.21

           OR

                D. Proof of Spill-Related Reservation Cancellations

                   Claimant may establish causation by providing contemporaneous written
                    evidence of spill-related reservation cancellations (i.e., letters, emails, hotel logs
                    for the relevant time) that the claimant was unable to rebook. Proof of spill-
                    related reservation cancellations only establishes causation for the specific
                    cancellations substantiated by the claimant and may result in recovery only of
                    damages solely associated with such cancellations established as causally
                    resulting from the spill. However, if the lodging facility has food and/or beverage
                    services on site, the evidence of cancellation shall satisfy causation for the losses
                    in those service areas as well.

                   The claimant provides contemporaneous written evidence of the cancellation of
                    a contract as the direct result of the spill that claimant was not able to replace.
                    In the absence of contemporaneous written evidence, the claimant must present
                    an affidavit from an independent third party affirming that the cancellation was
                    spill-related. Proof of a spill-related contract cancellation only establishes
                    causation for the specific contract substantiated by the claimant and may result
                    in recovery of damages solely associated with such contract.

           OR

           E.       For claimants defined as “Seafood Retailers” (including restaurants):

                        o Claimant demonstrates purchases of Gulf of Mexico harvested seafood
                          from Zone A, Zone B or Zone C vendors represented at least 10% of food
                          costs during 2009, as reflected in historical purchase orders and/or
                          invoices.

                    AND




21
     See Exhibit C attached hereto for an example of how this calculation is performed.
                                                           9

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                       o Claimant demonstrates a decline of 7.5% in gross profit (gross sales less
                         cost of goods sold) over a period of three consecutive months between
                         May-December 2010 compared to the same months in 2009.

       OR

       F. A non-rural business claimant on a property that is in close proximity (within 100
          yards) to the property of a separate MDL 2179 business claimant that has
          established causation (“Causation Proxy Claimant”) may rely on the documentation
          submitted by such Causation Proxy Claimant to satisfy these Causation
          Requirements for Business Economic Loss Claims. A “Rural Business” claimant
          located within one quarter-mile of the property of the Causation Proxy Claimant
          may rely on the documentation submitted by the Causation Proxy Claimant to satisfy
          these causation requirement only if the claimant provides information sufficient for
          the Claims Administrator to determine that a causal relationship exists between the
          claimant’s financial performance and the financial performance of the Causation
          Proxy Claimant. A Rural Business shall be defined as one is located in area outside an
          urban area or urban cluster, as defined by the US Census Bureau’s classification.
          Only business claimants with annual revenue of $75,000 or below are eligible to
          establish causation under this Subpart IIIF.
Exhibit A

                  Summary of Revenue Pattern Requirements for Causation Tests
                                                               Zone B
                                                          (Non-Tourism and                  Zone C
        Test                       Zone A                   Non-Seafood)                (Non-Seafood)                Zone D
                               Down       Up              Down          Up             Down        Up             Down      Up

        V-Test                         N/A                -8.5%           5%           -8.5%         5%               -15%   10%


        Modified V-Test *              N/A                 -5%            5%            -5%          5%               -10%   7%


        Down Only Test *               N/A                 -8.50%       N/A             -8.50%      N/A               -15%   N/A




        * = For the Modified V-Test and the Down Only Test, additional requirements apply, as described in Sections
        IIB, IIC, IIIB, and IIIC above.




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                  Examples of Revenue Pattern Requirements for Causation Tests

      In these examples, the claimant is located in Zone B or C, uses 2008-2009 average as Benchmark
      Period, and has selected June, July and August as its three consecutive months.

      Example 1:                                   Revenue by Year
                                                     Average of
      Month                       2008        2009   2008-2009     2010               2011

      June                       325,000      300,000     312,500      285,000        305,000
      July                       360,000      350,000     355,000      330,000        345,000
      August                     340,000      325,000     332,500      295,000        330,000

      3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
      [Sum of June, July, August]
                                                        Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                        Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
      Claimant passes V-Test. Note: A claimant that satisfies the revenue pattern
      requirements for the V-Test will always also satisfy the requirements for the
      Modified V-Test and Down Only Test.


      Example 2:                                     Revenue by Year
                                                        Average of
      Month                       2008        2009      2008-2009      2010           2011

      June                       325,000      300,000     312,500      295,000        320,000
      July                       360,000      350,000     355,000      335,000        355,000
      August                     340,000      325,000     332,500      315,000        340,000

      3-Month Aggregate:       1,025,000      975,000 1,000,000        945,000    1,015,000
      [Sum of June, July, August]
                                                        Down Percentage:                -5.5% =(945,000 - 1,000,000)/1,000,000
                                                        Up Percentage:                   7.4% =(1,015,000 - 945,000)/945,000
      Claimant fails V Test and the Down Only Test.
      Claimant has satisfied the revenue pattern requirement for the Modified V-Test and
      can establish causation if able to satisfy the additional requirements described in
      Section IIB above.


      Example 3:                                     Revenue by Year
                                                        Average of
      Month                       2008        2009      2008-2009      2010           2011

      June                       325,000      300,000     312,500      285,000        300,000
      July                       360,000      350,000     355,000      330,000        325,000
      August                     340,000      325,000     332,500      295,000        310,000

      3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        935,000
      [Sum of June, July, August]
                                                        Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                        Up Percentage:                   2.7% =(935,000 - 910,000)/910,000
      Claimant fails V Test and the Modified V-Test.
      Claimant has satisfied the revenue pattern requirement for the Down Only Test and
      can establish causation if able to satisfy the additional requirements described in
      Section IIC above.

      Notes:

      The causation tests would work in the same way for claimants in Zone D with higher thresholds for the tests. In
      Zone D, the V-Test thresholds are -15% decline, 10% upturn; the Modified V-Test thresholds are -10% decline, 7%
      upturn; the Down-Only Test threshold is -15%.




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                  Examples of Revenue Pattern Requirements for Causation Tests

      In these examples, the claimant is located in Zone B or C, uses 2008-2009 average as Benchmark
      Period, and has selected June, July and August as its three consecutive months.

      Example 4 demonstrates that under an aggregate test, three months of revenues are summed.
      The individual months may be up or down, as long as the three month aggregate period passes
      the test.

      Example 4A:                                  Revenue by Year
                                                     Average of
      Month                       2008        2009   2008-2009     2010               2011

      June                       325,000      300,000     312,500      285,000        305,000
      July                       360,000      350,000     355,000      330,000        345,000
      August                     340,000      325,000     332,500      295,000        330,000

      3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
      [Sum of June, July, August]
                                                        Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                        Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
      Claimant passes V-Test. Note: A claimant that satisfies the revenue pattern
      requirements for the V-Test will always also satisfy the requirements for the
      Modified V-Test and Down Only Test.


      Example 4B:                                    Revenue by Year
                                                        Average of
      Month                       2008        2009      2008-2009      2010           2011

      June                       325,000      300,000     312,500      385,000        305,000
      July                       360,000      350,000     355,000      230,000        345,000
      August                     340,000      325,000     332,500      295,000        330,000

      3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
      [Sum of June, July, August]
                                                        Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                        Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
      Claimant passes V-Test.


      Example 4C:                                    Revenue by Year
                                                        Average of
      Month                       2008        2009      2008-2009      2010           2011

      June                       325,000      300,000     312,500      385,000        305,000
      July                       360,000      350,000     355,000      430,000        345,000
      August                     340,000      325,000     332,500       95,000        330,000

      3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
      [Sum of June, July, August]
                                                        Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                        Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
      Claimant passes V-Test.

      Notes:

      The causation tests would work in the same way for claimants in Zone D with higher thresholds for the tests. In
      Zone D, the V-Test thresholds are -15% decline, 10% upturn; the Modified V-Test thresholds are -10% decline, 7%
      upturn; the Down-Only Test threshold is -15%.




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Exhibit B


                Example of Customer Mix Test (Non-Local Customers)
            The claimant in this Exhibit B uses the same three-month time period as the
            claimant in Exhibit A (June-July-August).
            To pass the test, claimants must demonstrate proof of a decline of 10% or more
            in the share of total revenue generated by non-local customers over the same
            period of three consecutive months from May-December 2010 as selected by the
            claimant for the Modified V-Test or Down Only Tests compared to the same
            three consecutive months in 2009.

            Example 1:                  LT= Less than                 GE=Greater than or equal to
            Customer Residence                June-August '09              June-August '10

            LT 60 miles from claimant            $80,000                           $66,000
            GE 60 miles from claimant            $20,000                           $14,000
            Total                              $100,000                            $80,000
            % GE 60 miles                          20%                              17.5%
                                        Claimant passes Customer Mix Test: Claimant has a 12.5
                                        percent decline in share of total revenue from non-local
                                        customers [12.5%= .125 = (20-17.5)/20].



            Example 2:
            Customer Residence               June-August '09                 June-August '10

            LT 60 miles from claimant            $50,000                         $40,000
            GE 60 miles from claimant            $50,000                         $40,000
            Total                               $100,000                         $80,000
            % GE 60 miles                          50%                            50%
                                        Claimant fails Customer Mix Test: No change in share of
                                        total revenue from non-local customers. [0% = 0 = (50-
                                        50)/50].

            Example 3:
            Customer Residence               June-August '09                 June-August '10

            LT 60 miles from claimant             $50,000                         $48,000
            GE 60 miles from claimant             $50,000                         $40,000
            Total                                $100,000                         $88,000
            % GE 60 miles                            50%                           45.5%
                                        Claimant fails Customer Mix Test: Claimant has a 9%
                                        decline in share of total revenue from non-local customers
                                        [9% = .09 = (50-45.5)/50].




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Exhibit C


              Example of Customer Mix Test (Customers in Zones A-C)
            The claimant in this Exhibit B uses the same three-month time period as the
            claimant in Exhibit A (June-July-August).
            To pass the test, claimants must demonstrate proof of a decline of 10% or more
            in the share of total revenue generated by customers in Zones A-C over the
            same period of three consecutive months from May-December 2010 as selected
            by the claimant for the Modified V-Test or Down Only Tests compared to the
            same three consecutive months in 2009.

            Example 1:
            Customer Residence            June-August '09                 June-August '10

            Zone D                            $80,000                           $66,000
            Zones A-C                         $20,000                           $14,000
            Total                           $100,000                            $80,000
            % Zones A-C                         20%                              17.5%
                                     Claimant passes Customer Mix Test: Claimant has a 12.5
                                     percent decline in share of total revenue from customers in
                                     Zones A-C [12.5%= .125 = (20-17.5)/20]



            Example 2:
            Customer Residence            June-August '09                 June-August '10

            Zone D                            $50,000                        $40,000
            Zones A-C                         $50,000                        $40,000
            Total                            $100,000                        $80,000
            % Zones A-C                         50%                            50%
                                     Claimant fails Customer Mix Test: No change in share of
                                     total revenue from customers in Zones A-C. [0% = 0 = (50-
                                     50)/50]

            Example 3:
            Customer Residence            June-August '09                 June-August '10

            Zone D                             $50,000                         $48,000
            Zones A-C                          $50,000                         $40,000
            Total                             $100,000                         $88,000
            % Zones A-C                           50%                           45.5%
                                     Claimant fails Customer Mix Test: Claimant has a 9%
                                     decline in share of total revenue from customers in Zones A-
                                     C [9% = .09 = (50-45.5)/50]




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                                          Addendum To
                   Causation Requirements For Business Economic Loss Claims and
                    Compensation Framework for Business Economic Loss Claims

       The term “Benchmark Period” is defined at pp. 1-2 in the Compensation Framework for
Business Economic Loss Claims (Ex. 4C). That definition provides:

               The Benchmark Period is the pre-DWH Spill time period which claimant
               chooses as the baseline for measuring its historical financial
               performance. The claimant can select among the following Benchmark
               Periods: 2009; the average of 2008-2009; or the average of 2007-2009,
               provided that the range of years selected by the claimant will be utilized
               for all Benchmark Period purposes.

Footnote 2 of the Causation Requirements For Business Economic Loss Claims (Ex. 4B) specifically
incorporates that definition of Benchmark Period by reference.

        Accordingly, once the claimant selects the Benchmark Period year(s) (2009, the average of 2008-
2009, or the average of 2007-2009), the same Benchmark Period year(s) are used “for all Benchmark
Period purposes” -- specifically, the same Benchmark Period year(s) are used for purposes of
determining both causation and compensation.

       In contrast, a claimant is not required to use the same months in the Benchmark Period for
purposes of establishing causation pursuant to Ex. 4B and determining compensation pursuant to Ex. 4C.

        For example, when evaluating whether a claimant can satisfy causation using the “V Test,” the
claimant may select any consecutive 3-month period between May and December 2010 for comparison
to a comparable period in the Benchmark Period (i.e., 2009, the average of 2008-2009, or the average of
2007-2009). After establishing causation, however, the claimant may select a different 3 or more
consecutive months between May and December 2010 in determining compensation in accordance with
the Compensation Framework for Business Economic Loss Claims, so long as the claimant uses the
same Benchmark Period years as the basis for comparison. Thus, if the claimant selected for causation
the three months of May - July in the Benchmark Period years of the average of 2008-2009, the claimant
can select for compensation different months -- e.g., August - October -- but must use the same average
of 2008-2009 Benchmark Period. The same Benchmark Period year(s) thus must be used both for
causation (Ex. 4B) and compensation (Ex. 4C).

       The additional examples on the next page illustrate these rules:




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Scenario 1:

   1) Claimant selected the months of May-July 2010 for the purpose of determining causation, and
      the claimant, using these months, meets the causation test for the Benchmark period years of
      2009, 2008-2009 and 2007-2009;
   2) In determining Compensation, Claimant would be allowed to select the months of August
      through November 2010 as compared to the months of August through November in either
      2009, 2008-2009 or 2007-2009 as the Benchmark years – whichever provides the highest
      compensation.

Scenario 2:

       1) Claimant selected the months of October – December 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period years of 2009, 2008-2009;
       2) In determining compensation, Claimant could select the months of May-September 2010 as
          compared to the months of May-September in either 2009 or 2008-2009 – whichever
          provides the highest compensation.

Scenario 3:

       1) Claimant selected the months of June – August 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period year of 2009. In addition, Claimant selected the months of August –
          October 2010 for the purpose of determining causation, and the claimant, using these
          months, meets the causation test for the Benchmark period years of 2007-2009;
       2) In determining compensation, Claimant could select the months of May-December 2010 as
          compared to the months of May-December in either 2009 or 2007-2009 – whichever
          provides the highest compensation.




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